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15    LiveViewGPS, Inc.
16
                    IN THE UNITED STATES DISTRICT COURT
17                FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
19    SOCIAL POSITIONING INPUT
20    SYSTEMS, LLC,
                                               C.A. NO. 2:22-CV-09003
21
                          Plaintiff,           JURY TRIAL DEMANDED
22

23                 v.                          PATENT CASE
24
      LIVEVIEWGPS, INC.,
25

26                        Defendant.

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                        JOINT STIPULATION AND ORDER OF DISMISSAL

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1                   JOINT STIPULATION AND ORDER OF DISMISSAL
2            Plaintiff   Social   Positioning   Input   Systems,   LLC     and   Defendant
3     LiveViewGPS, Inc., by their respective undersigned counsel, hereby STIPULATE
4     and AGREE as follows:
5            1.      All claims asserted by the Plaintiff in this Action are dismissed with
6     prejudice and all claims asserted by the Defendant in this Action are dismissed
7     without prejudice as moot under Fed. R. Civ. P. 41(a)(1)(A)(ii);
8            2.      Each party shall bear its own costs and attorneys’ fees with respect to
9     the matter dismissed hereby;
10                This Stipulation and Order shall finally resolve the Action between the
11    parties.
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                         JOINT STIPULATION AND ORDER OF DISMISSAL

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1     Dated: March 8, 2023                        Respectfully submitted,
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      /s/ Stephen M. Lobbin                       /s/ Noel F. Chakkalakal
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                      JOINT STIPULATION AND ORDER OF DISMISSAL

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